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                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
CHAMBERS OF                                                                      338 U.S. COURTHOUSE
ERIC I. LONG                                                                        201 S. VINE STREET
MAGISTRATE JUDGE                                                               URBANA, ILLINOIS 61802
                                                                               TELEPHONE 217-373-5839
                                                                                FACSIMILE 217-373-5840
                                                                             EMAIL long@ilcd.uscourts.gov

                                        December 8, 2023


       RE: Brown v. Eden Supportive Living Champaign LLC, 23-2162

Dear Counsel:

        I have issued an Order formally setting a settlement conference in this case for January 24,
2024, at 1:30 p.m. The Order requires that you do certain things in advance of the conference. I
would also like you to consider the attached checklist. It will help you focus on the things that I
think are important.

        Also, it is important that you conduct meaningful settlement negotiations, including a
demand by the Plaintiff(s) and an offer by the Defendant(s), prior to the settlement conference. If
as a result of those negotiations you determine that the case cannot be settled, please notify me
immediately. I do not want to compel you and your clients to engage in a hopeless exercise.


                                                     Sincerely,

                                                     s/Eric I. Long

                                                     Eric I. Long
                                                     U.S. Magistrate Judge


Enclosure
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                                                                       ERIC I. LONG
                                                            U.S. MAGISTRATE JUDGE

               SETTLEMENT CONFERENCE PREPARATION

Experience shows that in negotiations the party who is best prepared usually obtains the best
result. Settlement conferences can be held more efficiently if all parties and counsel are prepared.
The following are some areas to consider in order to aid in the effectiveness of this settlement
conference.

A.     FORMAT

               1.     Parties with ultimate settlement authority must be
               personally present.

               2.      The Court will use a mediation format, and private
               caucusing with each side; the Judge may address your client
               directly.

B.     ISSUES

               1.      What issues (in and outside of this lawsuit) need to be
               resolved? What are the strengths and weaknesses of each issue?
               What is your most persuasive argument?

               2.     What remedies are available resulting from this litigation or
               otherwise?

               3.      Is there any ancillary litigation pending/planned which
               affects case value?

               4.     Do you have enough information to value the case? If not,
               how are you going to get more information before the conference?

               5.     Do attorney fees or other expenses affect settlement? Have
               you communicated this to the other side?

C.     AUTHORITY

               1.    Are there outstanding liens? Have you verified amounts
               and whether they are negotiable? Do we need to include a
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         representative of the lien holder? If so, contact the Court
         immediately.

         2.     Is there valid insurance coverage? In what amount? If
         coverage is at issue, or the amount/type affects settlement value,
         have you notified the other side? Do we need to include the
         representative from more than one company/carrier? If so, notify
         the Court immediately.

D.   NEGOTIATIONS

         1.     Where have your last discussions ended? Are you sure?

         2.     Can you have any discussions before the settlement
         conference to make it proceed more efficiently?

         3.      What value do you want to start with? Why? Have you
         discussed this with your client?

         4.      What value do you want to end with? Why? Have you
         discussed this with your client? Is it significantly different from
         values you have placed on this case at other times?

         5.     Is there confidential information that affects case value?
         Why can’t/won’t/shouldn’t it be disclosed? How can the other side
         be persuaded to change value if it doesn’t have this information?

         6.     What happens if you don’t settle the case at the conference?
         What is your best alternative to a negotiated settlement? Why?

E.   CLOSING

         1.     If settlement is reached, do you want it on the record?

         2.     Have you discussed settlement formats with your client?
         Does the client understand structured settlements, annuities, Rule
         68 offers to compromise?

         3.     How soon could checks/closing documents be received?

         4.      If settlement is not reached, and further discovery is needed,
         what is your plan for continued settlement discussions? Do you
         want Court involvement in these talks?
